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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                  Judge Wiley Y. Daniel

  Civil Action No.  06-cv-01898-WYD
  Criminal Case No. 01-cr-00214-WYD

  UNITED STATES OF AMERICA,

  v.

  19. SAMMY WOODS,

         Movant.



                       ORDER DENYING 28 U.S.C. § 2255 MOTION



         Movant Sammy Woods has filed pro se a motion pursuant to 28 U.S.C. § 2255

  seeking to vacate the judgment of conviction in this criminal action. On October 4,

  2006, I directed the government to file an answer to the § 2255 motion. On December

  13, 2006, the government filed its answer to the § 2255 motion. On December 28,

  2006, Mr. Woods filed a reply to the government’
                                                 s answer and a supplement to the

  § 2255 motion. On February 13, 2007, Mr. Woods filed a memorandum of law in

  support of his § 2255 motion.

         I must construe the papers filed by Mr. Woods liberally because he is

  representing himself. See Haines v. Kerner, 404 U.S. 519, 520-21 (1972); Hall v.

  Bellman, 935 F.2d 1106, 1110 (10th Cir. 1991). However, I should not be the pro se

  litigant’
          s advocate. See Hall, 935 F.2d at 1110. After reviewing the entire file, I find

  that an evidentiary hearing is not necessary. For the reasons stated below, I will deny
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  the § 2255 motion.

         Mr. Woods was convicted by a jury of conspiracy to distribute fifty grams or more

  of crack cocaine as well as possession with intent to distribute crack cocaine and use

  of a communications facility to further a drug trafficking crime. I sentenced Mr. Woods

  to 240 months in prison, the statutory minimum term, on the conspiracy count and

  lesser concurrent terms on the other counts. The judgment of conviction was affirmed

  on direct appeal. See United States v. Small, 423 F.3d 1164 (10th Cir. 2005). Although

  Mr. Woods did not seek review in the United States Supreme Court on direct appeal,

  his conviction was not final until the time for seeking certiorari review expired. See

  United States v. Burch, 202 F.3d 1274 (10th Cir. 2000). As a result, the § 2255 motion

  was timely filed on September 22, 2006.

         The claims Mr. Woods raises in this action are confusing, difficult to understand,

  and not well-developed. He lists four separate claims for relief in the § 2255 motion,

  although there is substantial overlap among the claims. Mr. Woods contends as part of

  his first claim that counsel was ineffective for failing to raise a Booker issue on direct

  appeal. See United States v. Booker, 543 U.S. 220 (2005). Also as part of his first

  claim, and in his second and third claims for relief, Mr. Woods raises a variety of

  arguments that counsel was ineffective for failing to seek dismissal of the charges

  against Mr. Woods because the court lacked subject matter jurisdiction over this

  criminal action. Finally, in his fourth claim for relief, Mr. Woods argues that the

  government lacked jurisdiction to prosecute this action because crack cocaine is not a

  controlled substance and the federal drug laws pertaining to crack cocaine are


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  unconstitutionally vague.

         I first will address the ineffective assistance of counsel claims. The Supreme

  Court has established a two-prong test to review ineffective assistance of counsel

  claims. See Strickland v. Washington, 466 U.S. 668 (1984). Mr. Woods must

  demonstrate both that counsel’
                               s performance fell below an objective standard of

  reasonableness and that counsel’
                                 s deficient performance was prejudicial. See id. at

  687. “Judicial scrutiny of counsel’
                                    s performance must be highly deferential.” Id. at 689.

  There is a “strong presumption”that counsel’
                                             s performance falls within the range of

  “reasonable professional assistance.” Id. In order to demonstrate prejudice, Mr.

  Woods must establish that counsel’
                                   s performance rendered the proceedings

  “fundamentally unfair or unreliable.” Lockhart v. Fretwell, 506 U.S. 364, 369 (1993). If

  Mr. Woods fails to satisfy either prong of the Strickland test, the ineffective assistance

  of counsel claims must fail. See Strickland, 466 U.S. at 697.

         As noted above, Mr. Woods first contends that counsel was ineffective for failing

  to raise a Booker issue on direct appeal. In Booker, the Supreme Court held that the

  Sixth Amendment requires that “[a]ny fact (other than a prior conviction) which is

  necessary to support a sentence exceeding the maximum authorized by the facts

  established by a plea of guilty or a jury verdict must be admitted by the defendant or

  proved to a jury beyond a reasonable doubt.” Booker, 543 U.S. at 244. There are two

  distinct types of Booker errors. See United States v. Gonzalez-Huerta, 403 F.3d 727,

  731 (10th Cir. 2005) (en banc). First, constitutional Booker error occurs when a court

  relies on judge-found facts, other than those of prior convictions, to enhance a


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  sentence mandatorily. See id. Second, non-constitutional Booker error occurs when a

  sentencing court applies the Sentencing Guidelines in a mandatory rather than

  discretionary fashion even though the resulting sentence was based solely on facts

  admitted by the defendant or found by the jury. See id. at 731-32.

         In the instant action, there was no Booker error because Mr. Woods received the

  statutory minimum sentence of 240 months. That sentence was driven by the jury’
                                                                                s

  determination that Mr. Woods conspired to distribute more than fifty grams of crack

  cocaine and Mr. Woods’prior felony drug conviction. See 21 U.S.C. § 841(b)(1)(A)(iii).

  My determination that there was no Booker error is supported by the fact that the Tenth

  Circuit rejected the Booker claims raised on direct appeal by two of Mr. Woods’co-

  Defendants who also were sentenced to the statutory minimum terms. See Small, 423

  F.3d 1164 at 1187. Therefore, because there was no Booker error, Mr. Woods’

  counsel was not ineffective for failing to raise a Booker claim on direct appeal.

         Mr. Woods next claims that counsel was ineffective for failing to seek dismissal

  of the charges against Mr. Woods because the court lacked jurisdiction over this

  criminal action. As noted above, Mr. Woods raises various arguments in support of this

  contention in his first, second, and third claims for relief. These arguments include the

  following:

         •     The United States is a “fictitious party plaintiff;”

         •     His name in the indictment in “all capital letters”is not his lawful name;

         •     He is not a corporate franchise and has not elected to be so treated;

         •     The United States is a territorial corporation without power to bring a


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                criminal prosecution within the territorial boundaries of the several states;

         •      A U.S. DISTRICT COURT is not an Article III court;

         •      Title 18 U.S.C. § 3231 is unconstitutional on its face; and

         •      Section 3231 applies only to “District Courts of the U.S.,”not “U.S.

                DISTRICT COURTS.”

         The government, in its response to the § 2255 motion, labels these arguments

  as frivolous. I agree. Therefore, the government also is correct that counsel was not

  ineffective for failing to raise these frivolous arguments. The effective assistance of

  counsel “does not demand that every possible motion be filed, but only those having a

  solid foundation.” United States v. Crouthers, 669 F.2d 635, 643 (10th Cir. 1982).

         The premise urged by Mr. Woods that underlies these ineffective assistance of

  counsel claims is that the court lacks jurisdiction. Pursuant to 18 U.S.C. § 3231, “[t]he

  district courts of the United States shall have original jurisdiction, exclusive of the

  courts of the States, of all offenses against the laws of the United States.” “Subject

  matter jurisdiction in every federal criminal prosecution comes from 18 U.S.C. § 3231,

  and there can be no doubt that Article III permits Congress to assign federal criminal

  prosecutions to federal courts. That’
                                      s the beginning and the end of the ‘
                                                                         jurisdictional’

  inquiry.” Hugi v. United States, 164 F.3d 378, 380 (7th Cir. 1999). Therefore, Mr.

  Woods’ineffective assistance of counsel claims challenging the court’
                                                                      s jurisdiction over

  this criminal action also lack merit and will be dismissed.

         In his fourth claim for relief, Mr. Woods alleges that the government lacked

  jurisdiction to prosecute this action because crack cocaine is not a controlled


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  substance. He also argues that, because crack cocaine is not a controlled substance,

  the federal drug laws pertaining to crack cocaine are unconstitutionally vague. This

  claim lacks merit because substances containing cocaine are Schedule II controlled

  substances. See 21 U.S.C. § 812, Schedule II(a)(4). Mr. Woods provides no authority

  or any reasoned basis for his argument distinguishing between a “mixture”containing

  cocaine and a “substance”containing cocaine. Furthermore, the fact that crack

  cocaine is a Schedule II controlled substance disposes of Mr. Woods’additional

  contention that the federal drug laws pertaining to crack cocaine are unconstitutionally

  vague. Therefore, this claim also will be dismissed. Accordingly, it is

        ORDERED that the motion to vacate filed on September 22, 2006, is DENIED. It

  is

        FURTHER ORDERED that each party shall bear his or its own costs and

  attorney’
          s fees.

        Dated: June 11, 2007

                                           BY THE COURT:


                                           s/ Wiley Y. Daniel
                                           Wiley Y. Daniel
                                           U. S. District Judge




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                              Chief Judge Wiley Y. Daniel

  Civil Action No. 08-cv-02529-WYD
  Criminal Action No. 01-cr-00214-WYD

  UNITED STATES OF AMERICA,

  v.

  19.   SAMMY WOODS,
        Movant.


                               ORDER DENYING MOTIONS


        Movant Sammy Woods has filed pro se on November 20, 2008, a motion

  pursuant to 28 U.S.C. § 2255 challenging the validity of his conviction and sentence and

  seeking his immediate release along with a motion for appointment of counsel. I must

  construe the motions liberally because Mr. Woods is representing himself. See Haines

  v. Kerner, 404 U.S. 519, 520-21 (1972); Hall v. Bellmon, 935 F.2d 1106, 1110 (10th

  Cir. 1991). However, I should not be an advocate for a pro se litigant. See Hall, 935

  F.2d at 1110. For the reasons stated below, I will deny the motions.

        Mr. Woods previously has sought relief pursuant to § 2255 in this criminal action.

  See United States v. Woods, No. 06-cv-01898-WYD (D. Colo. June 11, 2007); appeal

  dismissed, No. 07-1271, 263 F. App’x 704 (10th Cir. Feb. 5, 2008). I dismissed Mr.

  Woods’ prior § 2255 motion on the merits. Therefore, the instant § 2255 motion is a

  second or successive motion.

        Pursuant to § 2255(h) and 28 U.S.C. § 2244(b)(3), Mr. Woods must obtain from

  the United States Court of Appeals for the Tenth Circuit an order authorizing me to
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  consider a second or successive § 2255 motion. In the absence of such authorization, I

  lack jurisdiction to consider the merits of the claims asserted in a second or successive

  § 2255 motion. In re Cline, 531 F.3d 1249, 1251 (10th Cir. 2008). A federal prisoner

  seeking authorization to file a second or successive § 2255 motion must demonstrate

  that his claims are based on either “newly discovered evidence that, if proven and

  viewed in light of the evidence as a whole, would be sufficient to establish by clear and

  convincing evidence that no reasonable factfinder would have found the movant guilty

  of the offense,” 28 U.S.C. § 2255(h)(1), or “a new rule of constitutional law, made

  retroactive to cases on collateral review by the Supreme Court, that was previously

  unavailable,” 28 U.S.C. § 2255(h)(2).

         Mr. Woods does not allege that he has obtained the necessary authorization

  from the Tenth Circuit to file a second or successive § 2255 motion. Therefore, I must

  either dismiss the § 2255 motion for lack of jurisdiction or, if it is in the interest of justice,

  transfer the matter to the Tenth Circuit pursuant to 28 U.S.C. § 1361. In re Cline, 531

  F.3d at 1252. The factors to be

                 considered in deciding whether a transfer is in the interest of
                 justice include whether the claims would be time barred if
                 filed anew in the proper forum, whether the claims alleged
                 are likely to have merit, and whether the claims were filed in
                 good faith or if, on the other hand, it was clear at the time of
                 filing that the court lacked the requisite jurisdiction.

  Id. at 1251.

         It appears that the claims Mr. Woods is asserting in this action would be barred

  by the one-year limitation period. See 28 U.S.C. § 2255(f). However, the claims appear

  to be time-barred only because Mr. Woods fails to demonstrate that his claims are

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  based on either newly discovered evidence or a new rule of constitutional law as

  required pursuant to § 2255(h). Furthermore, the claims Mr. Woods is raising do not

  appear to have merit and it was clear when the § 2255 motion was filed that this Court

  lacks jurisdiction. Therefore, I do not find that a transfer of this action to the Tenth

  Circuit is in the interest of justice and the § 2255 motion will be denied for lack of

  jurisdiction. Accordingly, it is

         ORDERED that the motion pursuant to 28 U.S.C. § 2255 (docket #3648) filed on

  November 20, 2008, is DENIED for lack of jurisdiction. It is

         FURTHER ORDERED that the motion for appointment of counsel (docket #3649)

  filed on November 20, 2008, is DENIED as moot.

         DATED at Denver, Colorado, this 22nd day of December, 2008.

                                      BY THE COURT:



                                      s/ Wiley Y. Daniel
                                      WILEY Y. DANIEL,
                                      Chief United States District Judge




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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

  Criminal Action No. 01-cr-00214-WYD

  UNITED STATES OF AMERICA,

  v.

  19.   SAMMY LEE WOODS,
        Defendant.


                                     MINUTE ORDER

  ORDER ENTERED BY CHIEF JUDGE WILEY Y. DANIEL

        Defendant’s “Motion Requesting the Court to Expand the Record § 2255-Rule-7
  to Submit Petitioner’s Argument and Judicial Fact” [doc. #3672, filed January 26, 2009]
  is DENIED as moot, because the Court denied Defendant’s 28 U.S.C. § 2255 motion in
  an order filed on December 22, 2008 [doc. #3656].

        Dated: January 27, 2009.
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